1 F.3d 1234
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Mu'Tazz Mujahid MUNTASIR, Plaintiff-Appellant,v.Sewall SMITH, Warden, Maryland Penitentiary; TheodorePurnell, Chief of Security, Maryland Penitentiary;Lieutenant Locklear, Maryland Penitentiary; Bishop L.Robinson, Commissioner, Defendants-Appellees,andPatricia Goins; Pamela Sorenson; William, Assistant Warden,Defendants.
    No. 93-6423.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  July 16, 1993.Decided:  August 3, 1993.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  John R. Hargrove, District Judge.  (CA-92-846-JH)
      Mu'Tazz Mujahid Muntasir, Appellant Pro Se.
      John Joseph Curran, Jr., Attorney General, Stephanie Judith Lane-Weber, Assistant Attorney General, Baltimore, Maryland, for Appellees.
      D.Md.
      AFFIRMED.
      Before NIEMEYER, HAMILTON, and WILLIAMS, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Mu'Tazz Mujahid Muntasir appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Muntasir v. Smith, No. CA-92-846-JH (D. Md. Apr. 15, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    